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PATRICE A. BREWER;
Plaintiff .r
v-

No. 04-2664 Ma/P

SYNOVUS FINANCIAL CORPORATION,
d/b/a TRUST ONE BANK,

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Defendant.

 

ORDER 1) FINDING THAT THE COURT LACKS SUBJECT MATTER JURISDICTION
OVER PLAINTIFF’S CLAIM, 2) DENYING DEFENDANT'S MOTION TO DISMISS
OR STAY, AND 3) ORDERING PLAINTIFF TO FILE AN AMENDED COMPLAINT
WITHIN ELEVEN (ll) DAYS OF THE DATE OF THIS ORDER

 

I. Background

Plaintiff Patrice A. Brewer's (“Brewer”) father, Lawrence P.
Bramlett (“Bramlett”), died on June 15, 2004. (Compl. at 1.) When
he died, Bramlett held several payable-on-death. bank accounts
(“P.O.D. acounts”) with Trust One Bank (“Trust One”) worth
approximately $100,000. (Id. at 1-3.) According to the Complaint,
Brewer was the beneficiary of those accounts when they were
created, but in January, 2004, Bramlett removed Brewer as the
beneficiary and named two of Bramlett's “distant relatives” as the
beneficiaries. (Id.)

Brewer filed the Complaint in this case on August 26, 2004.1

 

1
Brewer filed an “Amendment to Civil Action” on September 2, 2004, in which
she also claims that the P.O.D. accounts should be found “null and void” because
Bramlett did not sign the Certificate of Deposit he received from the bank when

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Brewer alleges that Bramlett “was not of sound. mind. when. he
allegedly [changed the beneficiaries of the P.O.D. accounts] with
Trust One Bank in January 2004 because of his illnesses especially
brain cancer. Other family members took advantage of his illnesses
and diminished mental capacity in having him (or someone else) sign
the [documents changing the beneficiaries]." (Id. at 4.) Brewer
seeks to have the P.O.D. accounts found “null and void for reason
of diminished mental capacity and undue influence or fraud, and
reinstate the original P.O.D. [account beneficiary] or award the
assets to plaintiff based on Tennessee Intestate Succession law.”
(Id. at 5.)

Trust One filed a “Motion to Dismiss or Stay” on November 29,
2004. A document entitled “Response to Motion to Dismiss or Stay”
was filed on November 30, 2004. The signature on the response was
not Brewer's and the court entered an order on December 16, 2004,
ordering Brewer to file a properly signed response. The court's
order also raised sua sponte the issue of whether the court has
subject matter jurisdiction over Brewer's claim and ordered Brewer
to show cause why the action should not be dismissed for lack of
subject matter jurisdiction.

On January 4, 2005, Brewer filed a response to Trust One's
“Motion to Dismiss or Stay” in which Brewer addressed the issue of

this court's subject matter jurisdiction. Trust One filed a reply

 

he created the P.O.D. accounts.

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memorandum on April 25, 2005. Brewer filed a “Motion to Amend
Complaint on May 27, 2005, which was granted on June 1, 2005.
Brewer has not filed an amendment to her Complaint.

II. Analysis of the Court's Subject Matter Jurisdiction Over The
Claim Stated in Brewer's Complaint

Federal courts are courts of limited jurisdiction. Finley v.
United States, 490 U.S. 545, 547-48 (1989). Federal courts are
obliged to act sua sponte whenever a question about jurisdiction
arises. See, e.q., St. Paul Mercurv Indem. Co. v. Red Cab Co., 303
U.S. 283, 287 n.lO (1938); 13 C. Wright, A. Miller & E. Cooper,
Federal Practice and Procedure § 3522 at 70 (1984). Fed. R. Civ. P.
12(h)(3) provides that a court shall dismiss an action “[w]henever
it appears by suggestion of the parties or otherwise that the court
lacks jurisdiction over the subject matter.”

Under the “probate exception” to diversity jurisdiction, “even
when the requirements of diversity jurisdiction have been met
a federal court nonetheless lacks jurisdiction over cases involving
probate matters.” Lepard v. NBD Bankl a Div. of Bank One, 384 F.3d
232, 237 (6th Cir. 2004) (internal quotes and citations omitted).
“The probate exception is a practical doctrine designed to promote
legal certainty and judicial economy by providing a single forum of
litigation, and to tap the expertise of probate judges by
conferring exclusive jurisdiction on the probate court.” ldi

“The standard for determining whether federal jurisdiction.may

be exercised. is whether‘ under state law the dispute would. be

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cognizable only by the probate court.” ldé “The probate exception
applies both to purely probate matters, and to matters ancillary to
probate in the practical sense that allowing the case to be
maintained in federal court would impair the policies served by the
probate exception to diversity jurisdiction.” ld4 at 237-38.
(internal quotes and citations omitted). Furthermore, the federal
court may not entertain suits that would force the federal court to
“interfere with the probate proceedings or assume general
jurisdiction of the probate or control of the property in the
custody of the state court.” Starr v. Rupp, 421 F.2d 999, 1004 (6th
Cir. 1970) (citing Markham v. Allen, 326 U.S. 490, 494 (1946)).

This court does not have jurisdiction over Brewer's claim
because her claim is ancillary to probate and because the property
in question is under the control of the Shelby County Probate
Court. Brewer asks the court to find that her father's designation
of beneficiaries of the P.O.D. accounts was invalid and to
distribute the money in those accounts to the alleged original
beneficiary of the accounts, Brewer, or by intestacy. If the court
were to find that Bramlett's January 4, 2004, designation. of
beneficiaries was invalid and that the funds should be distributed
through intestate succession, the court would be forced to decide
a probate matter--intestate distribution of the property in a
decedent's estate.

Further, the funds that Brewer seeks to obtain are already

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under the administration of the Shelby County Probate Court. Tenn
Code Ann. § 45-2-704(b)(8) allows a bank to interplead the funds in
a contested P.O.D. account into a probate court. On February 4,
2005, in response to a motion by Trust One, the Shelby County
Probate Court entered an “Order Allowing Interpleader” and ordered
Trust One to deposit with the probate court the funds in Bramlett's
accounts.2 On August 10, 2005, the Shelby County Probate Court
heard oral arguments on a summary judgment motion filed by Trust
One. Thus, the probate court has accepted jurisdiction over
disputes arising from the disposition of the funds in the P.O.D.
accounts and has control of those funds. Consequently, the probate
exception to diversity jurisdiction applies to Brewer's claim, and
this court lacks subject matter jurisdiction.

Brewer argues that the probate exception does not apply to
this case because the funds in the P.O.D. accounts do not pass
under Bramlett’s will and that the Shelby County Probate Court does
not have jurisdiction over the funds.3 (Pl.'s Resp. at 2.) Tenn
Code Ann. § 45-2-704(b)(8), however, clearly gives the probate

court jurisdiction over the funds in the P.O.D. accounts, although

 

2
The style of the probate court case is In re: The Estate of Lawrence
Patrick Bramlett, Case No. C-10057.

3Brewer cites Tenn. Code. Ann. § 35-12-110(a) to support her claim that the
Shelby County Probate Court does not have jurisdiction to hear disputes arising
from the distribution of the P.O.D. accounts. Section 35-12-110(a), however,
deals with the transfer of securities upon the security owner's death. Section
35-12~102(9) defines a “security” as “a share, participation, or other interest
in.property, in a business, or in an obligation of an enterprise or other issuer,
and includes a certificated security, an uncertificated security, and a security
account.” Section 35-12~110(a) does not apply to this suit.

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the accounts do not pass under Bramlett’s will.
III. Trust One's Motion to Dismiss or Stay
Because the court does not have jurisdiction over the claim
stated in Brewer's Complaint, Trust One's “Motion to Dismiss or
Stay” is denied as moot.
IV. The Court's Order Allowing Brewer to File an Amended Complaint
On June 1, 2005, this court granted Brewer’s motion to amend
her Complaint. Brewer is hereby ordered to file an amended
Complaint within eleven (11) days from the date of this order.
Because this court does not have subject matter jurisdiction over
the claim stated in Brewer’s original Complaint, failure to file an
Amended Complaint within the time given will result in dismissal of

Brewer's suit.

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V. Conclusion

For the foregoing reasons, the court does not have subject
matter jurisdiction over the claim stated in Plaintiff's Complaint.
Therefore, Defendant’s Motion to Dismiss or Stay is DENIED as moot,

and Plaintiff is ORDERED to file an amended complaint within eleven

(ll) days of the date of this order.

So ordered this 3°l/Lday of August 2005.

<MWM___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CV-02664 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

